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                     UNITED STATES COURT OF APPEALS                       FILED
                               FOR THE NINTH CIRCUIT                       DEC 6 2019
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
FRANK E. GABLE,                                   Nos. 19-35427, 19-35436

        Petitioner-Appellee/                      D.C. No. 3:07-cv-00413-AC
        Cross-Appellant,                          District of Oregon,
                                                  Portland
  v.
                                                  ORDER
MAX WILLIAMS,

        Respondent-Appellant/
        Cross-Appellee.



Before: Peter L. Shaw, Appellate Commissioner.

        Petitioner Frank E. Gable’s motion (Docket Entry No. 11) for a second

extension of time in which to file the second cross-appeal brief is granted. The

second cross-appeal brief is due March 12, 2020. Any further request for an

extension of time to file this brief is disfavored. The respondent’s third cross-

appeal brief is due April 13, 2020. The optional cross-appeal reply brief is due

within 21 days after service of the third cross-appeal brief.




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